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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

09-80507

THE UNITED STATES OF AMERICA, )
)
Plaintiff, )
CIV-MARRA
V. ) CIVIL ACTION NO. BaGISTRATE LUO
{OHH
TOWN OF LAKE PARK, FLORIDA, and )
COMMISSIONERS PATRICIA PLASKET- __) FILED by /LJ> D.c.
OSTERMAN, G. CHUCK BALIUS, JEFF )
CAREY and ED DALY, in their official ) MAR 3 1 2009
capacity as members of the Lake Park Town ) STEVEN M. LARIMORE
Commission, and DESCA DUBOIS, in her ) OER OTC
official capacity as Mayor of Lake Park. )
)
Defendants. )
)
COMPLAINT

The United States of America, plaintiff herein, alleges:

1. The Attorney General files this action pursuant to Sections 2 and 12(d) of the
Voting Rights Act of 1965, as amended, 42 U.S.C. § 1973, and 42 U.S.C. § 1973j(d). Section 2
prohibits the enforcement of any voting qualification or prerequisite to voting or any standard,
practice, or procedure that results in the denial or abridgement of the right to vote on account of
race, color, or membership in a language minority. Plaintiff challenges the at-large method of
electing the Town of Lake Park Commission on the grounds that it dilutes the voting strength of

black citizens in violation of Section 2.

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JURISDICTION

2. The Court has jurisdiction of this action pursuant to 28 U.S.C. § 1345 and 42 U.S.C.
§ 1973;(f).

PARTIES

3. Defendant Town of Lake Park (the “Town”) is a political and geographical
subdivision of the State of Florida.

4. Defendants Patricia Plasket-Osterman, Chuck Balius, Jeff Carey and Ed Daly are
elected members of the Commission for the Town of Lake Park (the “Commission”’), the body
established under the laws of the State of Florida and Article IV of the Charter for the Town.
Defendant Desca Dubois, Mayor of Lake Park, serves as a fifth voting member of the
Commission.

ALLEGATIONS

5. According to the 2000 Census, the Town has a total population of 8,721 of whom
4,256 (48%) are black. The percentage of black citizens who are of voting age is thirty-eight
percent. White voting age citizens comprise a fifty-three percent majority.

6. |The Commission is composed of four members who are elected at-large to three-
year staggered terms. The Defendant Desca Dubois, Mayor of Lake Park, serves as a fifth voting
member of the Commission in legislative matters.

7. Racially polarized voting patterns prevail in elections in the Town. No black
candidate for the Commission has ever won an election since Lake Park was incorporated in

1923. Black voters voting for the Commission are politically cohesive. White bloc voting
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usually results in the defeat of candidates who are preferred by black voters. White voters have
consistently voted as a bloc so as to defeat every black candidate.

8. The black population of the Town is sufficiently numerous and geo graphically
compact that a properly apportioned single-member district plan for electing the Defendant
Commission can be drawn in which black persons would constitute a majority of the total
population, voting age population, and citizen voting age population in at least one district.

9. Black persons in Lake Park and throughout Palm Beach County have suffered from
a history of official discrimination. Lake Park has engaged in a variety of official discrimination
against blacks including, but not limited to, racially discriminatory code enforcement policies,
zoning decisions and ordinances, actions by the Lake Park Police Department to prevent blacks
from entering the Town after sundown, and threats to exercise eminent domain powers with a
racially discriminatory purpose.

10. Significant socioeconomic disparities exist between white and black residents of the
Town. Such disparities have the effect of limiting black participation in the Town’s at-large
elections.

11. Lake Park elections are characterized by the use of practices and procedures that
impair black electoral success. These include, but are not limited to, staggered terms, a majority
vote requirement and placement of polling locations outside of minority-communities. Other
features in the Town, such as gated communities, further impair the ability of black candidates to

campaign and be elected.
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12. Slating by various residential condominium associations occurs in Lake Park, and
black candidates for the Lake Park Town Commission are not given access to this slating
process.

13. Political campaigns in the Town have been characterized by subtle and overt racial
appeals.

14. No black candidate has ever been elected to a seat on the Commission.

CAUSE OF ACTION

15. Under the totality of the circumstances, the at-large method of electing the
Commission has the effect of diluting black voting strength, resulting in black citizens being
denied an opportunity equal to that afforded to other members of the electorate to participate in
the political process and to elect representatives of their choice, in violation of Section 2 of the
Voting Rights Act, 42 U.S.C. § 1973.

16. Unless enjoined by order of this Court, Defendants will continue to conduct
elections for the Commission under the present method of election that denies black citizens the
opportunity to participate equally with white citizens in the political process and to elect
candidates of their choice, in violation of Section 2 of the Voting Rights Act, 42 U.S.C. § 1973.

PRAYER FOR RELIEF
WHEREFORE, the United States of America prays that the Court enter an order:
(1) Declaring that the at-large method of electing the Commission members violates
Section 2 of the Voting Rights Act;
(2) Enjoining Defendants, their agents and successors in office, and all persons acting

in concert with any of them, from administering, implementing, or conducting any

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(3)

(4)

electing commissioners;

future elections for the Town of Lake Park under the current at-large method of

Ordering the implementation of an election system for the Town that complies
with Section 2 of the Voting Rights Act, 42 U.S.C. § 1973; and
Ordering such additional relief as the interests of justice may require, together

with the costs and disbursements in maintaining this action.

ERIC H. HOLDER, JR.
Attorney General

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LORETTA KING DJ
Acting Assistant Attorney General
Civil Rights Division

Sy Hoste

R. ALEXANDER ACOSTA

United States Attorney

Southern District of Florida

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Attorneys for United States of America

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JS 44 (Rev. 11/04)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS
UNITED STATES OF AMERICA

DEFENDANTS

TOWN OF LAKE PARK, AND COMMISSIONERS PATRICIA
PLASKET-OSTERMAN, ET AL...

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendan' WPB

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IN LAND CONDEMNATION CAgHST LEB oftioabor

NOTE: Yo: F I.
(c) Attorney’s (Firm Name, Address, and Telephone Number) TRACT OF LAND INVOLVED.
Veronica Harrell-James, AUSA 305-961-9327 Attorneys (If Known)

99 NE 4th Street, 3rd Floor
Miami, Florida 33132
*** ALSO SEE COMPLAINT FOR OTHER ATTORNEYS

MAR 3 1 2009

STEVEN M. LARIMO
CLERK US DIST me

Thomas J. Baird, Attorney at Law
11891 U.S. Hwy. One, Suite 100
N.Palm Beach, Fl 33408

S. D. of FLA. -
(d) Check County Where Action Arose: ODADE OMONROE OBROWARD X}PALMBEACH OMARTIN OST.LUCIE INDIAN’ LA oe S
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IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
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O 160 Stockholders’ Suits O 355 Motor Vehicle Property Damage Act 862 Black Lung (923) 0 875 Customer Challenge
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© 220 Foreclosure 0 442 Employment Sentence {} 791 Empl. Ret. Inc. or Defendant) 0 894 Energy Allocation Act
0 230 Rent Lease & Ejectment ( 443 Housing/ Habeas Corpus: Security Act 0 871 IRS—Third Party 0 895 Freedom of Information
O 240 Torts to Land Accommodations QO 530 General 26 USC 7609 Act
CO 245 Tort Product Liability O 444 Welfare 0 535 Death Penalty O + 900Appeal of Fee Determination
O 290 All Other Real Property (1 445 Amer. w/Disabilities - | 540 Mandamus & Other Under Equal Access
Employment 0 550 Civil Rights to Justice
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V. ORIGIN (Place an “X” in One Box Only) ‘Appeal to District
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Original Removed from Remanded from Reinstated or another district Multidistrict Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

(Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION | Violation of Voting Rights Act of 1965, 42 USC Sections 1973, et seq.,

LENGTH OF TRIAL via days estimated (for both sides to try entire case)
(1 CHECK IF THIS IS A CLASS ACTION DEMAND $

VII. REQUESTED IN CHECK YES only if demanded in complaint:

COMPLAINT: UNDER F.R.CP. 23 JURY DEMAND: Yes ONo
VI. RELATED CASE(S) See
IF ANY (See instructions): WNGE DOCKET NUMBER
DATE

3-31-09

FOR OFFICE USE ONLY

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SIGNATURE OF ATTORNE
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